  Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 1 of 13 PageID #: 1




                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE EASTERN DISTRICT OF MISSOURI
                                        EASTERN DIVISION

DEREK AND ZELMA EMRIE,              )
                                    )
            Plaintiffs,             )
                                    )                 CIVIL ACTION
v.                                  )                 FILE NO.________________
                                    )
CLIENT SERVICES, INC.,              )
                                    )
            Defendant.              )
____________________________________)

                                     NATURE OF ACTION

        1.      This is an action brought pursuant to the Fair Debt Collection Practices Act

(“FDCPA”), 15 U.S.C. § 1692 et seq. and the Telephone Consumer Protection Act (“TCPA”), 47

U.S.C. § 227 et seq.

                                   JURISDICTION AND VENUE

        2.      This Court has jurisdiction pursuant to 15 U.S.C. § 1692k(d), 28 U.S.C. § 1331,

and 47 U.S.C. § 227(b)(3).

        3.      Venue is proper before this Court pursuant to 28 U.S.C. § 1391(b), as the acts and

transactions giving rise to Plaintiffs’ action occurred in this district, and Defendant transacts

business in this district.

                                            PARTIES

        4.      Plaintiffs Derek and Zelma Emrie (collectively, “Plaintiffs”) are natural persons.

        5.      Plaintiffs are “consumers” as defined by 15 U.S.C. § 1692a(3).

        6.      Defendant Client Services, Inc. (“Defendant”) is an entity who at all relevant

times was engaged, by use of the mails and telephone, in the business of attempting to collect a

                                                 1
  Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 2 of 13 PageID #: 2




“debt” from Plaintiff, as defined by 15 U.S.C. § 1692a(5).

        7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).

                                   FACTUAL ALLEGATIONS

        8.      Mr. Emrie is a natural person obligated, or allegedly obligated, to pay a debt owed

or due, or asserted to be owed or due, a creditor other than Defendant.

        9.      Mr. Emrie’s obligation, or alleged obligation, owed or due, or asserted to be owed

or due, a creditor other than Defendant, arises from a transaction in which the money, property,

insurance, or services that are the subject of the transaction were incurred primarily for personal,

family, or household purposes—namely, a Firestone auto repair shop personal account (the

“Debt”).

        10.     Defendant uses instrumentalities of interstate commerce or the mails in a business

the principal purpose of which is the collection of any debts, and/or regularly collects or attempts

to collect, directly or indirectly, debts owed or due, or asserted to be owed or due, another.

        11.     In or about December 6, 2012, and in connection with the collection of the Debt,

Defendant began placing calls to Plaintiffs.

        12.     Upon information and good-faith belief, Defendant failed to provide Plaintiffs

with the notices required by 15 U.S.C. § 1692g et seq., either in its initial communication with

Plaintiff, or in writing within 5 days thereafter.

        13.     In connection with the collection of the Debt, Defendant, by and through its agent

and/or employee “Alicia Pride” (“Ms. Pride”) placed a call to Mr. Emrie’s cellular telephone on

December 21, 2012, and at such time, spoke with Mr. Emrie.




                                                     2
  Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 3 of 13 PageID #: 3




        14.    During the conversation that ensued, Ms. Pride demanded payment towards the

Debt from Mr. Emrie.

        15.    During the December 21, 2012 conversation, Mr. Emrie offered to pay $75.00

towards the Debt if Defendant stopped placing calls to Plaintiffs.

        16.    During the December 21, 2012 conversation, Ms. Pride represented to Mr. Emrie

that Defendant will keep calling Plaintiffs until Plaintiffs agreed to a payment plan.

        17.    During the December 21, 2012 conversation, Mr. Emrie requested that Defendant

provide Plaintiffs with written communication regarding the Debt.

        18.    During the December 21, 2012 conversation, Ms. Pride refused to send Plaintiffs

written communication regarding the Debt, and further, stated that Defendant does not send out

any letters.

        19.    During the December 21, 2012 conversation, Mr. Emrie made a payment of

$75.00 towards the Debt. (See Proof of Payment, attached as Exhibit A).

        20.    During the December 21, 2012 conversation, Defendant falsely represented that it

cannot send any written communication to Plaintiffs.

        21.    Further, in the event that Defendant did provide the disclosures in its initial

communication with Plaintiffs on or about December 6, 2012, the disclosures were

overshadowed during the December 21, 2012 conversation by Defendant’s demands for payment

within the 30-day dispute period.

        22.    In connection with the collection of the Debt, Defendant, by and through its agent

and/or employee “Alicia Pride,” placed a call to Mrs. Emrie’s cellular telephone on January 14,

2013 at 2:00 P.M., and at such time, left the following voicemail message:


                                                 3
  Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 4 of 13 PageID #: 4




               Hi uh this is Alicia Pride, I was just calling, this call may be
               monitored. I’m trying to reach Mr. Derek Emrie please. Hello?

       23.     In connection with the collection of the Debt, Defendant placed a call to Mrs.

Emrie’s cellular telephone on January 18, 2013 at 9:46 A.M., and at such time, left the following

voicemail message:

               [1 second of music] Hello? Hello?

       24.     Defendant’s January 14, 2013 and January 18, 2013 voicemail messages failed to

notify Plaintiffs that the communication was from a debt collector.

       25.     Further, Defendant failed to disclose its true corporate and/or business name in its

January 14, 2013 and January 18, 2013 voicemail messages.

       26.     By failing to disclose its true corporate and/or business name in its January 14,

2013 and January 18, 2013, and further, by failing to disclose that the communication was from a

debt collector, Defendant failed to meaningfully disclose its identity to Plaintiffs.

       27.     In connection with the collection of the Debt, Defendant placed calls to Mrs.

Emrie’s cellular telephone, including, but not limited to:

                  December 7, 2013 at 8:08 A.M.;
                  January 14, 2013 at 2:00 P.M.;
                  January 18, 2013 at 9:46 A.M.;
                  January 24, 2013 at 9:30 A.M.;
                  January 25, 2013 at 8:31 A.M.;
                  January 26, 2013 at 8:13 A.M.l
                  January 26, 2013 at 9:36 A.M.;
                  January 28, 2013 at 2:21 P.M.;
                  January 29, 2013 at 9:43 A.M.;
                  January 29, 2013 at 10:18 A.M.;
                  February 6, 2013 at 9:10 A.M.;
                  February 6, 2013 at 4:33 P.M.;
                  February 7, 2013 at 9:34 A.M.;
                  February 8, 2013 at 9:17 A.M.;

                                                  4
Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 5 of 13 PageID #: 5




             February 9, 2013 at 9:03 A.M.;
             February 11, 2013 at 1:35 P.M.;
             February 11, 2013 at 8:54 P.M.;
             February 12, 2013 at 9:30 A.M.;
             February 12, 2013 at 4:36 P.M.;
             February 13, 2013 at 9:05 A.M.;
             February 13, 2013 at 4:48 P.M.;
             February 14, 2013 at 9:21 A.M.;
             February 14, 2013 at 5:21 P.M.;
             February 16, 2013 at 9:21 A.M.;
             February 17, 2013 at 12:41 P.M.;
             February 18, 2013 at 2:28 P.M.;
             February 18, 2013 at 8:19 P.M.;
             February 19, 2013 at 5:23 P.M.;
             February 20, 2013 at 5:47 P.M.
             February 25, 2013 at 2:14 P.M.;
             February 25, 2013 at 8:12 P.M.;
             February 27, 2013 at 9:13 A.M.;
             February 28, 2013 at 9:04 A.M.
             February 28, 2013 at 5:02 P.M.
             March 1, 2013 at 3:30 P.M.
             March 2, 2013 at 9:08 A.M.;
             March 4, 2013 at 1:52 P.M.;
             March 5, 2013 at 9:30 A.M.;
             March 6, 2013 at 5:34 P.M.;
             March 7, 2013 at 9:10 A.M.;
             March 7, 2013 at 5:12 P.M.;
             March 8, 2013 at 9:18 A.M.;
             March 9, 2013 at 9:15 A.M.;
             March 11, 2013 at 2:28 P.M.;
             March 12, 2013 at 9:31 A.M.;
             March 18, 2013 at 1:42 P.M.;
             March 27, 2013 at 7:30 P.M.;
             April 3, 2013 at 6:22 P.M.;
             April 4, 2013 at 9:27 A.M.;
             April 5, 2013 at 11:46 A.M.;
             April 8, 2013 at 4:20 P.M.;
             April 12, 2013 at 11:38 A.M.;
             April 16, 2013 at 11:37 A.M.;
             April 20,2 013 at 11:38 A.M.; and
             May 30, 2013 at 9:47 A.M.

                                          5
  Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 6 of 13 PageID #: 6




         28.   During some of the above referenced telephone calls, Mrs. Emrie picked up and

listened to a message delivered by Defendant using an artificial or pre-recorded voice.

         29.   Upon information and good-faith belief, the telephones calls identified above

were placed to Mrs. Emrie’s cellular telephone using an automatic telephone dialing system.

         30.   Defendant did not place any telephone calls to Mrs. Emrie for emergency

purposes.

         31.   Defendant did not have Mrs. Emrie’s prior express consent to place telephone

calls to her cellular telephone.

         32.   Upon information and good-faith belief, Defendant placed the telephone calls to

Mrs. Emrie identified above voluntarily.

         33.   Upon information and good-faith belief, Defendant placed the telephone calls to

Mrs. Emrie identified above under its own free will.

         34.   Upon information and good-faith belief, Defendant had knowledge that it was

using an automatic telephone dialing system to make and/or place the telephone call identified

above.

         35.   Upon information and good-faith belief, Defendant intended to use an automatic

telephone dialing system to make and/or place the telephone call identified above.

         36.   Upon information and good-faith belief, Defendant maintains business records

that show all calls Defendant placed to Plaintiff’s cellular telephone.

                                        COUNT I
                              VIOLATION OF 15 U.S.C. § 1692d(6)

         37.   Plaintiffs repeat and re-allege each and every factual allegation contained above.



                                                 6
  Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 7 of 13 PageID #: 7




       38.      Defendant violated 15 U.S.C. § 1692d(6) by placing telephone calls without

meaningfully disclosing the caller’s identity.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692d(6);

             b) Awarding Plaintiffs statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A),

                in the amount of $1,000.00;

             c) Awarding Plaintiffs actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             d) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiffs pre-judgment and post-judgment interest as permissible by

                law; and

             f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT II
                             VIOLATION OF 15 U.S.C. § 1692e(10)

       39.      Plaintiffs repeat and re-allege each and every factual allegation contained above.

       40.      Defendant violated 15 U.S.C. § 1692e(10) by using false representations or

deceptive practices in connection with the collection of the Debt, including, but not limited to:

misrepresenting that Defendant does not send out any letters.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692e(10);

             b) Awarding Plaintiffs statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A),

                in the amount of $1,000.00;

             c) Awarding Plaintiffs actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

                                                 7
  Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 8 of 13 PageID #: 8




             d) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiffs pre-judgment and post-judgment interest as permissible by

                law; and

             f) Awarding such other and further relief as the Court may deem just and proper.

                                      COUNT III
                             VIOLATION OF 15 U.S.C. § 1692e(11)

       41.      Plaintiffs repeat and re-allege each and every factual allegation contained above.

       42.      Defendant violated 15 U.S.C. § 1692e(11) by failing to notify Plaintiffs during

each collection contact that the communication was from a debt collector.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

             g) Adjudging that Defendant violated 15 U.S.C. § 1692e(11);

             h) Awarding Plaintiffs statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A),

                in the amount of $1,000.00;

             i) Awarding Plaintiffs actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             j) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             k) Awarding Plaintiffs pre-judgment and post-judgment interest as permissible by

                law; and

             l) Awarding such other and further relief as the Court may deem just and proper.

                                      COUNT IV
                             VIOLATION OF 15 U.S.C. § 1692g(a)

       43.      Plaintiffs repeat and re-allege each and every factual allegation contained above.


                                                 8
  Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 9 of 13 PageID #: 9




       44.      Defendant violated 15 U.S.C. § 1692g(a) by failing to provide Plaintiff with the

notices required by 15 U.S.C. § 1692g et seq., either in its initial communication with Plaintiff,

or in writing within 5 days thereafter.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692g(a);

             b) Awarding Plaintiffs statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A),

                in the amount of $1,000.00;

             c) Awarding Plaintiffs actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

             d) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiffs pre-judgment and post-judgment interest as permissible by

                law; and

             f) Awarding such other and further relief as the Court may deem just and proper.

                                      COUNT V
                             VIOLATION OF 15 U.S.C. § 1692g(b)

       45.      Plaintiffs repeat and re-allege each and every factual allegation contained above.

       46.      Defendant violated 15 U.S.C. § 1692g(b) by overshadowing the disclosures

required pursuant to 15 U.S.C. § 1692g(a) et seq., during the thirty-day dispute period.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

             a) Adjudging that Defendant violated 15 U.S.C. § 1692g(b);

             b) Awarding Plaintiffs statutory damages, pursuant to 15 U.S.C. § 1692k(a)(2)(A),

                in the amount of $1,000.00;

             c) Awarding Plaintiffs actual damages, pursuant to 15 U.S.C. § 1692k(a)(1);

                                                 9
 Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 10 of 13 PageID #: 10




             d) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this action

                pursuant to 15 U.S.C. § 1692k(a)(3);

             e) Awarding Plaintiffs pre-judgment and post-judgment interest as permissible by

                law; and

             f) Awarding such other and further relief as the Court may deem just and proper.

                                       COUNT VI
                           VIOLATION OF 47 U.S.C. § 227(b)(1)(A)(iii)

       47.      Plaintiffs repeat and re-allege each and every factual allegation contained above.

       48.      Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) by willfully and knowingly

placing non-emergency calls to Mrs. Emrie’s cellular telephone, without the prior express

consent of Mrs. Emrie, using an automatic telephone dialing system and/or an artificial or pre-

recorded voice.

       WHEREFORE, Plaintiffs pray for relief and judgment, as follows:

             a) Adjudging that Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii);

             b) Enjoining Defendant from placing any further telephone calls to Mrs. Emrie in

                violation of the TCPA, pursuant to 47 U.S.C. § 227(b)(3)(A);

             c) Awarding Plaintiffs statutory damages in the amount of $500.00 per violation,

                pursuant to 47 U.S.C. § 227(b)(3)(B);

             d) Awarding Plaintiffs actual damages, pursuant to 47 U.S.C. § 227(b)(3)(B);

             e) Awarding Plaintiffs treble damages, pursuant to 47 U.S.C. § 227(b)(3);

             f) Awarding Plaintiffs reasonable attorneys’ fees and costs incurred in this action;

             g) Awarding Plaintiffs any pre-judgment and post-judgment interest as may be

                allowed under the law;

                                                 10
Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 11 of 13 PageID #: 11




           h) Awarding such other and further relief as the Court may deem just and proper.

                                       TRIAL BY JURY

     49.      Plaintiffs are entitled to and hereby demand a trial by jury.


     Dated: July 18, 2013.


                                                     Respectfully submitted,

                                                     /s/ Anthony LaCroix
                                                     Anthony LaCroix
                                                     LaCroix Law Firm, LLC
                                                     Bar No.60793
                                                     4235 Baltimore Ave.
                                                     Kansas City MO 64111
                                                     (816) 399-4380
                                                     tony@lacroixlawkc.com
                                                     Lead Counsel for Plaintiff
                                                     Co-counsel with Weisberg & Meyers, LLC

                                                     Correspondence Address:

                                                     Weisberg & Meyers, LLC
                                                     5025 N. Central Ave., #602
                                                     Phoenix, AZ 85012




                                               11
Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 12 of 13 PageID #: 12
Case: 4:13-cv-01410-SNLJ Doc. #: 1 Filed: 07/18/13 Page: 13 of 13 PageID #: 13
